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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                             (TAMPA DIVISION)

MICRO INTERVENTIONAL DEVICES,
INC.

      Plaintiff,
                                             Case No. 8:24-cv-01092-CEH-NHA
      v.

OCSCOR, INC.,

      Defendant.


      PLAINTIFF’S SECOND UNOPPOSED MOTION TO MODIFY
    THE COURT’S CASE MANAGEMENT AND SCHEDULING ORDER

       Plaintiff, Micro Interventional Devices, Inc. (“MID”), by its counsel, and

 pursuant to Rule 16 of the Federal Rules of Civil Procedure and Local Rules of the

 United States District Court for the Middle District of Florida, hereby moves this

 Court to modify certain deadlines ordered in the September 20, 2024 Case

 Management and Scheduling Order (ECF Doc # 24), subsequently modified by the

 Court’s endorsed order of March 3, 2025 (ECF Doc # 27), as follows:

       Scheduling Order
                                   Current Deadline             Proposed Deadline
   Disclosures and Discovery
  Disclosure of Expert
  Reports
                     Plaintiff: JULY 8, 2025               JULY 28, 2025
                   Defendant: AUGUST 12, 2025              AUGUST 27, 2025
                    Rebuttal: SEPTEMBER 10, 2025           SEPTEMBER 19, 2025
  Fact Discovery Deadline      JUNE 9, 2025                JULY 9, 2025
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  Expert Discovery deadline        OCTOBER 6, 2025              OCTOBER 10, 2025

       In support of its motion, Plaintiff states:

       1.     Pursuant to the Court’s September 20, 2024 Case Management and

 Scheduling Order and endorsed order of March 3, 2025 entered in this case the

 current fact discovery deadline is June 9, 2025 and the deadlines for disclosure of

 expert reports are July 8, 2025 for Plaintiff, August 12, 2025 for Defendant, and

 September 10, 2025 for Rebuttal. The current expert discovery deadline is October

 6, 2025.

       2.     Pursuant to the Court’s Case Management and Scheduling Order, the

 parties have exchanged initial disclosures and are currently conducting fact

 discovery. The parties have also engaged in mediation in order to explore a possible

 early resolution of the issues raised in this litigation. The parties have continued

 their discussions since mediation and are exploring a possible supply agreement as

 an early resolution of the issues raised in this litigation.

       3.     The proposed Scheduling Order modifications are being requested

 because both Plaintiff and Defendant require additional time to conduct the above-

 described supply agreement discussions and also complete fact and expert discovery.

 Plaintiff accordingly respectfully requests: that the current fact discovery deadline

 of June 9, 2025 be extended to July 9, 2025; that the current deadline for disclosure

 of expert reports be extended to July 28, 2025 for Plaintiff, August 27, 2025 for

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 Defendant, and September 19, 2025 for Rebuttal; and that the current expert

 discovery deadline of October 6, 2025 be extended to October 10, 2025.

       4.     Counsel for Plaintiff has conferred with all parties to this action and is

 authorized to represent that all parties agree to the proposed new deadlines.

       5.     All parties agree that the extension will not affect the dispositive

 motions deadline and trial date.

       6.     All parties agree that any discovery conducted after the dispositive

 motions date established in the Case Management and Scheduling Order will not be

 available for summary judgment purposes.

       7.     No party will use the granting of this extension in support of a motion

 to extend another date or deadline.

       8.     Pursuant to Rule 3.01(g) of the Local Rules for the United States

 District Court, Middle District of Florida, the undersigned counsel hereby certifies

 that Plaintiff’s counsel has conferred with Defendant’s counsel and that Defendant

 does not oppose this motion and the above-requested Scheduling Order

 modifications.

       WHEREFORE, Plaintiff respectfully requests that the Court grant this

 Unopposed Motion to Modify Case Management and Scheduling Order and enter

 an order modifying the deadlines for Fact and Expert Discovery and the Disclosure

 of Expert Reports and any further relief that this Court deems just and proper.


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 Date: May 9, 2025
                                      Respectfully submitted,


                                      /s/ H. Steven Vogel
                                       H. Steven Vogel

                                      H. Steven Vogel, Esq.
                                      Florida Bar No. 432784
                                      DICKINSON WRIGHT PLLC
                                      350 East Las Olas Blvd., Suite 1750
                                      Fort Lauderdale, FL 33301
                                      Tel: (954) 991-5454
                                      Fax: (844) 670-6009
                                      Email: hvogel@dickinson-wright.com

                                      Michael J. Lennon
                                      NY Bar No. 1160506
                                      Email: mlennon@potomaclaw.com
                                      Phone: 646-519-7477
                                      POTOMAC LAW GROUP, PLLC
                                      1177 Avenue of the Americas, 5th Floor
                                      New York, NY 10036

                                      Pablo D. Hendler
                                      NY Bar No. 2547527
                                      Email: phendler@potomaclaw.com
                                      Phone: 914.893.6883
                                      POTOMAC LAW GROUP, PLLC
                                      1177 Avenue of the Americas, 5th Floor
                                      New York, NY 10036

                                      Attorneys for Plaintiff MICRO
                                      INTERVENTIONAL DEVICES, INC.




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                         CERTIFICATE OF SERVICE

       I hereby certify on May 9, 2025 I electronically filed with the Clerk of the

  U.S. District Court, Middle District of Tampa Division, the foregoing using

  CM/ECF system, which will send notification of such filing(s) to all counsel of

  record.



                                /s/ H. Steven Vogel
                                H. Steven Vogel, Esq.
                                Florida Bar No. 432784
